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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA,                  )              CASE NO. 1:22-cr-00188
                                             )
             Plaintiff,                     )
                                            )              JUDGE DAVID A. RUIZ
             - vs -                         )
                                            )              MINUTES AND ORDER RE:
                                            )              SUPERVISED RELEASE
 DAVID L. BAILEY,                           )              VIOLATION HEARING
                                            )
             Defendant.                     )


         This matter was heard on May 22, 2025, upon request of the probation office for a finding

that the defendant violated the conditions of supervised release. Petitions were presented for action

of the Court for cause as referenced in the May 21, 2025, superseding violation report.

      The defendant was present and represented by Assistant Federal Public Defender Alvaro

DeCola. Assistant U.S. Attorney Jason W. White was present on behalf of the Government. U.S.

Probation Officer Alexandria Delgadillo was present on behalf of U.S. Pretrial Services and

Probation Office. The defendant previously appeared before Magistrate Judge Amanda Knapp and

knowingly and voluntarily admitted to violation number one—Illicit Drug Use, and to violation

number two— Illicit Drug Use. Neither party has objected to the Magistrate’s Report and

Recommendation (R&R). Upon due consideration and for the reasons stated on the record, the

Court adopted the R&R.

      The Court determined that the defendant violated the terms and conditions of supervised

release. Based on this Court’s review of all relevant factors during the hearing, the Court ordered

that the Defendant’s supervised release be continued, with the added condition Cognitive

Behavioral Treatment. Defendant was advised of his right to appeal.

      IT IS SO ORDERED.

                                                           /s/David A. Ruiz          5/22/2025
                                                           David A. Ruiz
                                                           United States District Judge
                                                           Time: 20 minutes
